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                              UNITED STATES DISTRICT COURT
                                    DISTRICT OF UTAH


     SHERRY TERESA, individually and on behalf of
     all others similarly situated,
                                                          ORDER GRANTING STIPULATED
                          Plaintiff,                      MOTION TO EXTEND TIME TO
                                                          RESPOND TO MOTION TO DISMISS
           v.                                             (ECF NO. 29)

     MAYO FOUNDATION FOR MEDICAL
     EDUCATION AND RESEARCH,
                                                          Case No. 4:24-cv-00033-AMA-PK
                          Defendant.
                                                          Judge Ann Marie McIff Allen
                                                          Magistrate Judge Paul Kohler



          The Court, having reviewed the Stipulated Motion for an Extension of Time,1 being fully

 apprised in the premises, and good cause appearing,

          IT IS HEREBY ORDERED that:

          (1)     Plaintiff may file her response in opposition to Defendant’s Motion to Dismiss the

 First Amended Complaint on or before September 18, 2024.

          (2)     Defendant may file its reply in support of its Motion to Dismiss the First Amended

 Complaint on or before October 16, 2024.

 DONE this ____ day of September 2024.
                                                    BY THE COURT:


                                                   PAUL KOHLER
                                                   United States Magistrate Judge




 1
     Docket No. 33, filed September 9, 2024.

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